 Case 5:23-cv-04116-DDC-ADM          Document 1     Filed 12/13/23    Page 1 of 48




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF KANSAS


STATE OF KANSAS, ex rel.,
KRIS W. KOBACH, Attorney General,

                        Plaintiff,           Civil Action No.: 5:23-cv-4116

            v.

MACQUARIE ENERGY LLC,

                        Defendant.



                                 COMPLAINT




                                         i
      Case 5:23-cv-04116-DDC-ADM                                Document 1                 Filed 12/13/23               Page 2 of 48




                                                     TABLE OF CONTENTS

I.    NATURE OF THE ACTION AND OVERVIEW .................................................................. 1

II. JURISDICTION AND VENUE .............................................................................................. 5

III. PARTIES ................................................................................................................................. 6

     A.         Plaintiff ......................................................................................................................... 6

     B.         Defendant ...................................................................................................................... 6

     C.         Relevant Nonparties ...................................................................................................... 8

IV. ALLEGATIONS COMMON TO ALL CLAIMS ................................................................. 10

     A.         Natural Gas Markets and Trading ............................................................................... 10

           1.         Basic Organization of the Natural Gas Market: Production, Transportation,
                      Distribution and Consumption .............................................................................. 10

           2.         Natural Gas Markets and Trading ......................................................................... 12

     B.         Platts Benchmark Prices for Natural Gas.................................................................... 14

     C.         The Southern Star Location and its Benchmark Southern Star Gas Daily Price ........ 17

     D.         Financial Gas Products (Natural Gas Derivatives) Tied to the Southern Star Gas Daily
                Price ............................................................................................................................ 20

     E.         The Southern Star Gas Daily Price is Highly Susceptible to Manipulation ............... 21

     F.         Winter Storm Uri and Gas Daily Prices ...................................................................... 22

V. MACQUARIE ENTERS INTO THE TRADE TO MANIPULATE THE SOUTHERN
   STAR GAS DAILY PRICE IN VIOLATION OF THE CEA .............................................. 23

     A.         Macquarie’s February 16, 2021 Trade Was Incorporated into the February 17, 2021
                Southern Star Gas Daily Price .................................................................................... 23

           1.         Macquarie Entered into the Trade on February 16, 2021 ..................................... 23

           2.         The Trade was Incorporated into the February 17, 2021 Southern Star Gas Daily
                      Price ...................................................................................................................... 24

     B.         The Trade Materially Altered the February 17, 2021 Southern Star Gas Daily Price 24

     C.         The February 17, 2021 Southern Star Gas Daily Price was an Artificial Price .......... 24


                                                                        ii
     Case 5:23-cv-04116-DDC-ADM                            Document 1               Filed 12/13/23             Page 3 of 48




          1.        The Trade’s Price Did Not Reflect, and was Disconnected From, Prevailing
                    Market Forces and Supply/Demand Factors ......................................................... 24

          2.        Market Participant Concerns with Natural Gas Prices During Winter Storm Uri
                    Have Singled Out the February 17, 2021 Southern Gas Daily Price .................... 26

     D.        Macquarie Possessed the Ability to Influence Southern Star Gas Daily Prices and
               Caused the Artificially High February 17, 2021 Southern Star Gas Daily Price ....... 28

          1.        Macquarie Possessed the Ability to Influence Southern Star Gas Daily Prices ... 28

          2.        Macquarie Intentionally Caused an Artificially High February 17, 2021 Southern
                    Star Gas Daily Price .............................................................................................. 30

     E.        Macquarie’s Extraordinary Profits from February 2021 Gas Transactions Utterly
               Transformed MGL’s Fiscal 2021 Results ................................................................... 31

          1.        On February 9, 2021, Just Days Prior to Winter Storm Uri, MGL Warned that it
                    Expected Fiscal 2021 Profits to Decline ............................................................... 31

          2.        On February 22, 2021, Just Days After Winter Storm Uri and Less Than Two
                    Weeks After Warning that Profits Would Decline, MGL Revised its 2021 Profit
                    Outlook to a 10% Increase ................................................................................... 32

          3.        Macquarie’s Natural Gas Trading During Winter Storm Uri Generated Net Profits
                    to MGL Nearing $A1 Billion and Reversed the Earnings Warning ..................... 32

VI. MACQUARIE’S MANIPULATION HARMED KANSAS RESIDENTS .......................... 37

     A.        Macquarie’s Manipulation Forced Kansas Residents to Pay More for Natural Gas .. 37

     B.        Macquarie’s Manipulation Harmed Traders of Southern Star Derivatives ................ 39

VII. CLAIMS FOR RELIEF......................................................................................................... 39

VIII. PRAYER FOR RELIEF ....................................................................................................... 43

IX. JURY TRIAL DEMANDED ................................................................................................ 44




                                                                  iii
     Case 5:23-cv-04116-DDC-ADM            Document 1        Filed 12/13/23      Page 4 of 48




     Plaintiff, State of Kansas, ex rel. Kris W. Kobach, Kansas Attorney General, by and through

counsel Frances R. Oleen, Deputy Attorney General, petitions this Court for relief against

Defendant Macquarie Energy LLC (“Macquarie”), pursuant to the Commodities Exchange Act, 7

U.S.C. §§ 1 et seq. and the Kansas False Claims Act, K.S.A. § 75-7501 et seq., for its causes of

action against Defendant. Plaintiff alleges the following upon information and belief, except as to

those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, Plaintiff’s counsel’s investigation, which

includes, without limitation, review and analysis of:

       (a) natural gas transactions providing for physical delivery of natural gas during February

       2021 at various Mid-Continent locations, including but not limited to Southern Star, and

       documents associated with such transactions (such as trade confirmations, invoices for

       February 2021, and other communications);

       (b) proceedings before utility regulators of various states, including the Kansas Corporation

       Commission (“KCC”), concerning natural gas markets and pricing during Winter Storm

       Uri, and the excess costs experienced by utilities and like regulated entities arising from

       elevated natural gas prices during that period;

       (c) further information and documents obtained or subpoenaed by Plaintiff in the course of

       its investigation; and

       (d) other publicly available information concerning natural gas markets during February

       2021 or Macquarie.

I.     NATURE OF THE ACTION AND OVERVIEW

       1.      This lawsuit seeks redress under, among other things, the Commodity Exchange

Act (“CEA”), 7 U.S.C. §§ 1 et seq., and the Kansas False Claims Act, K.S.A. § 75-7501 et seq.,

for Macquarie’s manipulation of a key natural gas benchmark price for Kansas and its residents –


                                                 1
    Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23     Page 5 of 48




the Southern Star Gas Daily price. For Kansas residents, that benchmark price (1) sets many of

the prices for “physical” natural gas transactions (involving actual delivery of natural gas from

seller to purchaser) that impact natural gas purchased by or for Kansas residents, and (2) forms the

basis for many “financial” natural gas transactions (certain natural gas derivative products, such

as futures, swaps and options, specified herein) pertaining to natural gas for Kansas residents

traded on futures exchanges operated by Intercontinental Exchange, Inc. (“ICE”).

       2.      Macquarie is one of the largest natural gas marketers in the United States, including

in the Mid-Continent region that includes Kansas and nearby states1 (and within that region, the

Southern Star Gas Central Pipeline (“Southern Star”), which is centered in Kansas). In the Mid-

Continent and the Southern Star location, Macquarie sells very large volumes of natural gas – in

both absolute and relative terms – to local distribution companies (state gas utilities and similar

regional or municipal entities), electric power generators, large commercial or industrial entities,

and other market participants, including other natural gas marketing companies. Many of these

sales were transacted at prices based on a Mid-Continent region benchmark price – the Southern

Star Gas Daily midpoint price (the “Southern Star Gas Daily price”) – calculated daily by S&P

Global Platts (“Platts”), as further detailed herein (Sections IV.B-C, infra).

       3.      Platts calculates gas daily prices daily for dozens of locations, including Southern

Star. These Gas Daily prices represent average natural gas “spot” market prices for each location.

Id. For each location, Platts determines a Gas Daily price by (1) reviewing fixed-price natural gas



1
  In terms of natural gas, the Mid-Continent (sometimes written as Midcontinent) Region includes
at least portions of the following pipelines: ANR, Enable Gas, Natural Gas Pipeline Co. of America
(NGPL), ONEOK, Panhandle, Southern Star, and Texas Eastern that at have been grouped together
because of their proximity. See Platts, “Methodology and Specifications Guide: US and Canada
Natural Gas,” Platts (updated Jan. 2023) (hereinafter, “Platts Methodology”), available at:
https://www.spglobal.com/commodityinsights/PlattsContent/_assets/_files/en/our-
methodology/methodology-specifications/us_canada_gas.pdf.


                                                  2
      Case 5:23-cv-04116-DDC-ADM             Document 1        Filed 12/13/23      Page 6 of 48




trades to deliver gas the next day at that location and (2) calculating the volume-weighted average

price of such trades, which become the Gas Daily benchmark price. Id. The Southern Star Gas

Daily price is thus determined based on prior-day natural gas trades at fixed prices, providing for

next-day gas delivery at Southern Star locations.

         4.      In mid-February 2021, a significant winter storm – Winter Storm Uri – disrupted

natural gas markets, increasing demand for natural gas while decreasing its supply and causing

prices to rise. At various Mid-Continent and nearby locations, natural gas spot market benchmark

prices doubled, tripled, rose ten-fold, and even, in certain locations for a short time, rose 100-fold.

During a February 13-16, 2021 price peak, benchmark Mid-Continent natural gas prices, which at

February’s beginning were approximately $2.50/MMBtu, rose to approximately $200-

$300/MMBtu.2

         5.      Aggravating an already stressed market, on the morning of February 16, 2021,

Macquarie entered into an economically irrational natural gas trade, purchasing natural gas for

next-day delivery within Southern Star at the single highest price ever paid for Southern Star

natural gas (the “Trade”). No one has ever paid more. Indeed, no one has ever paid any fixed

price for Southern Star gas even remotely close to what Macquarie agreed to pay. The fixed

price Macquarie agreed to pay on February 16, 2021, for February 17, 2021 Southern Star natural

gas is – and at the time of its transaction (and delivery) was – an outlier: far above and

disconnected from all other contemporary Southern Star transaction prices or Macquarie

transactions. See Section V.C.1, infra.

         6.      Counterintuitively, the Trade was not a fiasco for Macquarie, but instead a

resounding financial success – because the actual effect of Macquarie’s Trade was to manipulate



2
    Natural gas volumes are expressed in units termed millions of British thermal units (“MMBtu”).


                                                  3
    Case 5:23-cv-04116-DDC-ADM             Document 1       Filed 12/13/23      Page 7 of 48




the February 17, 2021 Platts Southern Star Gas Daily price dramatically upwards.

       7.      The Southern Star Gas Daily benchmark is uniquely susceptible to manipulation.

Because the Platts’ Gas Daily price distills volume-weighted price averages from prior-day fixed-

price gas transactions, the relatively small numbers of qualifying trades on Southern Star and the

relatively lower daily volume of those trades on Southern Star than at all or nearly all other Mid-

Continent locations means that a single trade can have a significant impact.            Therefore,

manipulative activities that impact the Southern Star benchmark can have a greater effect there

than at most or all other Mid-Continent locations. See Section IV.E, infra.

       8.      Here, the Trade produced an enormous manipulative effect on the benchmark. The

February 17, 2021 Southern Star Gas Daily price increased by hundreds of dollars per MMBtu

solely because of the single manipulative trade. See Sections V.A-B, infra.

       9.      The Trade generated material additional trading revenues for Macquarie. See

Section VI, infra.

       10.     The price spike in the February 17, 2021 Southern Star Gas Daily caused by the

Trade dramatically increased costs for any entity purchasing Southern Star natural gas tied to the

benchmark on that day.

       11.     The Trade raised the price Kansans paid for any gas deliveries priced based on the

benchmark, imposing material additional costs on Kansas residents. See Section VI, infra. The

Trade also damaged traders of financial gas instruments whose prices, value, and settlement were

linked to the February 17, 2021 Southern Star Gas Daily price.

       12.     Following Winter Storm Uri, market participants and observers expressed concerns

over possible manipulation of Mid-Continent natural gas prices during Winter Storm Uri. They

singled out the February 17, 2021 Southern Star Gas Daily price, in particular, as a locus of




                                                4
      Case 5:23-cv-04116-DDC-ADM               Document 1        Filed 12/13/23       Page 8 of 48




potential manipulation. See Section V.C.2, infra.

        13.     Macquarie’s February 16, 2021 behavior and Trade were economically irrational

and contrary to its self-interest as a natural gas marketer. The only logical explanation is that the

Trade was an intentional effort to manipulate the February 17, 2021 Southern Star Gas Daily price.

        14.     Plaintiff brings the claims against Macquarie asserted here on behalf of Kansas

residents to the fullest extent allowed by the CEA and the Kansas False Claims Act.

II.     JURISDICTION AND VENUE

        15.     Southern Star natural gas is a “commodity” in interstate commerce. It is a

“commodity underlying” Southern Star derivatives contracts, as those terms are defined and used

in Section 1a(9) of the CEA, 7 U.S.C. § la(9).This Court has subject matter jurisdiction under 7

U.S.C. § 13a-2, 28 U.S.C §§ 1331, 1337. This Court has supplemental jurisdiction over the state

law claims asserted herein under 28 U.S.C. § 1367.

        16.     This Court has personal jurisdiction over the Defendant because the Defendant’s

wrongful acts include acts committed in this District and because the Defendant does business in

the State of Kansas.

        17.     Venue is proper in this District under 28 U.S.C. § 1391 because Defendant is

subject to personal jurisdiction in this judicial district, and this is the District in which events giving

rise to the claims occurred or where Defendant’s unlawful acts manipulated the prices of physical

and financial natural gas contracts and derivatives occurred.

        18.     Plaintiff may bring this action under Section 6d of the CEA, 7 U.S.C. § 13a-2. This

statute allows authorized State officials to bring proceedings for alleged violation of the CEA’s

provisions or any rules, regulations, or orders promulgated thereunder whenever it appears to the

state attorney general that the interests of the residents of the state have been, are being, or may be

threatened or adversely affected by violations of the CEA or Commodity Futures Trading


                                                    5
       Case 5:23-cv-04116-DDC-ADM            Document 1        Filed 12/13/23       Page 9 of 48




Commission (“CFTC”) Regulations. Plaintiff, as Kansas Attorney General, is an authorized state

official within the meaning of the CEA, pursuant to 7 U.S.C. §13a-2(1).

         19.   Under K.S.A. § 75-7504, the Attorney General of the State of Kansas is permitted

to investigate a violation of the Kansas False Claims Act and, if a violation is found, may bring a

civil action under that section against the entity responsible for the violation.

III.     PARTIES

         A.    Plaintiff

         20.    Kris Kobach is the duly elected, qualified, and acting Attorney General for the

State of Kansas.

         21.   In the aftermath of Winter Storm Uri’s impact on the State of Kansas, the Office of

the Attorney General investigated natural gas pricing during the storm (the “Investigation”).

         B.    Defendant

         22.   Defendant Macquarie Energy LLC is a company incorporated under the laws of

Delaware with principal offices located at 500 Dallas Street, Suite 3300, Houston, Texas 77002.

Macquarie is one of the five largest natural gas marketers in North America. During the first

quarter of 2021, the time period of central relevance here, Macquarie was the second-largest gas

marketer in North America, delivering 11.2 billion cubic feet of natural gas each day.

         23.   Macquarie’s natural gas marketing group employed over 110 traders, schedulers,

and support personnel, mostly located in Houston, Texas, and organized into four regional natural

gas trading desks (East, Mid-Continent, West, and Gulf) and a natural gas scheduling desk. The

gas trading desks engage in physical and financial trading of natural gas and provide transportation,

storage, and other services to gas producers, marketers, utilities, electric power generators, and

other customers.

         24.   Macquarie’s Mid-Continent Gas Desk buys and sells natural gas at wholesale for


                                                  6
      Case 5:23-cv-04116-DDC-ADM           Document 1       Filed 12/13/23      Page 10 of 48




delivery in Kansas (and other nearby states) with counterparties including (1) natural gas producers

(from whom Macquarie purchased gas); (2) local distribution companies (natural gas utilities),

power generators, municipalities and cooperatives, and large commercial or industrial entities (to

whom Macquarie sold gas); and (3) other natural gas marketers and trading organizations (with

whom Macquarie operated as both a buyer and seller of natural gas).

          25.   During the relevant period, Macquarie (1) transacted business in the State of

Kansas; (2) had substantial contacts with the State of Kansas; and (3) committed substantial acts

in furtherance of the manipulative scheme alleged herein in the State of Kansas. In addition,

Macquarie’s conduct was directed at and had the effect of causing injury to persons residing in,

located in, or doing business in the State of Kansas.

          26.   Defendant Macquarie registered with the CFTC, pursuant to and under the CEA,

through the CFTC’s registration vendor, the National Futures Association, on or before December

31, 2012.3 Defendant Macquarie remained registered with the CFTC during Winter Storm Uri and

through May 29, 2021.4

          27.   Macquarie is a wholly-owned subsidiary of Macquarie Bank Limited, which in turn

is a wholly-owned subsidiary of Macquarie Group Limited (“MGL”), an Australian multinational

investment bank and financial services company employing over 16,000 people across 32 markets

worldwide. As of March 31, 2021, MGL had $428.5 billion in assets under management

worldwide and a net operating income of $9.7 billion. Macquarie is the North American energy

marketing and trading arm of MGL’s Commodities and Global Markets division (“CGM”).


3
 Nat’l Futures Ass’n, NFA Basic Macquarie Energy
LLC, NFA, https://www.nfa.futures.org/BasicNet/basic-
profile.aspx?nfaid=eS%2B7iR1Ia8I%3D (last visited Nov. 7, 2023) (listing Defendant Macquire
Energy LLC as a provisionally registered swap dealer.)
4
    Id.


                                                 7
   Case 5:23-cv-04116-DDC-ADM               Document 1       Filed 12/13/23      Page 11 of 48




       28.     Although Macquarie was one small part of CGM, the amount Macquarie earned

from two weeks of U.S. natural gas trading in mid-February 2021 was as much as CGM in its

entirety typically earned in four years. See Section V.E, infra.

       29.     Macquarie Trader A was at all relevant times a natural gas trader operating in

Macquarie’s Mid-Continent Gas Desk. Macquarie Trader A negotiated and entered into the Trade

on Macquarie’s behalf. Macquarie Trader A acted as Macquarie’s agent when taking the alleged

manipulative actions, and Macquarie Trader A’s actions were within the scope of Macquarie

Trader A’s employment at Macquarie.

       C.      Relevant Nonparties

       30.     Kansas Gas Service (“KGS”) is headquartered in Overland Park, Kansas, and is a

wholly-owned division of ONE Gas, Inc., an Oklahoma corporation headquartered in Tulsa,

Oklahoma. It is the largest natural gas distribution utility in Kansas, delivering natural gas to more

than 640,000 Kansas customers. Macquarie’s manipulation artificially inflated the price that KGS

(and its customers thereby) paid for natural gas.

       31.     Kansas Municipal Gas Agency (“KMGA”) is headquartered in Overland Park,

Kansas, and is a not-for-profit interlocal public agency created by its municipal members under

the Kansas Interlocal Cooperation Act, KS Stat. §§12-2901 et seq. KMGA purchases, schedules,

and manages natural gas supply for its 49 member Kansas municipalities by amalgamating their

natural gas needs into a single market pool. Macquarie’s manipulation artificially inflated the price

KMGA (and its customers thereby) paid for natural gas. KMGA is a Kansas political subdivision

within the meaning of the Kansas False Claims Act.

       32.     Black Hills/Kansas Energy Services Company, d/b/a Black Hills Energy (“Black

Hills”), is part of Black Hills Corporation, a South Dakota corporation headquartered in Rapid

City, South Dakota. Black Hills provides natural gas service to approximately 117,000 residential,


                                                    8
   Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23      Page 12 of 48




commercial, and industrial consumers in Kansas. Macquarie’s manipulation artificially inflated

the price Black Hills (and its customers thereby) paid for natural gas.

       33.     Atmos Energy Corporation (“Atmos”), is a Texas corporation headquartered in

Dallas, Texas, and is the largest fully-regulated pure natural gas distribution company in the United

States, with six unincorporated gas utility operating divisions. Atmos’s Colorado/Kansas division,

headquartered in Denver, Colorado, serves approximately 135,000 Kansas customers – including

approximately 125,000 residential customers, 9,800 commercial and public authority customers,

15 industrial customers, 258 irrigation customers, and 450 transportation customers – in 110

communities located in 32 Kansas counties. Macquarie’s manipulation artificially inflated the

price that Atmos (and its customers thereby) paid for natural gas.

       34.     Midwest Energy, Inc. (“Midwest Energy”) is a self-regulated electric and natural

gas cooperative headquartered in Hays, Kansas, serving 40,000 gas and 50,000 electric customers

in central/western Kansas. Macquarie’s manipulation artificially inflated the price that Midwest

Energy (and its customers thereby) paid for natural gas.

       35.     Other Kansas entities that provided natural gas to Kansas consumers similarly

suffered damages from the manipulated market Defendant caused or created.

       36.     S&P Global Platts (“Platts”) is a London-based price reporting agency with offices

in 35 countries, including the United States. Platts provides benchmark prices for a variety of

energy-related products and markets throughout the world, including natural gas. Benchmarks

provided by Platts (as well as benchmarks provided by other price reporting agencies) are often

used by market participants as a price reference for (1) physical natural gas contracts, whose prices

are often set at an agreed-upon benchmark value, plus or minus a negotiated dollar differential (the

“spread” above/below the benchmark price); and (2) financial natural gas contracts, where they




                                                 9
      Case 5:23-cv-04116-DDC-ADM             Document 1        Filed 12/13/23       Page 13 of 48




serve as the underlying reference price for settlement of natural gas derivatives such as swaps and

futures.

IV.     ALLEGATIONS COMMON TO ALL CLAIMS

        A.      Natural Gas Markets and Trading

                1.      Basic Organization of the Natural Gas Market: Production,
                        Transportation, Distribution and Consumption

        37.     Natural gas supplies approximately 29% of the energy used in the U.S. In addition

to serving as the main heating fuel for approximately half of U.S. homes, natural gas is used for

electric power generation (as fuel for gas-fired electricity generation plants), as a raw material for

paints, fertilizers, and plastics, and to produce items such as steel, glass, paper, clothing, and brick.

        38.     The physical market for natural gas comprises the production, transportation,

storage, distribution, and consumption of natural gas, summarized below. Alongside the physical

market for natural gas, there are parallel financial markets for natural gas, in which financial

products derived from physical natural gas are purchased and sold. Relevant financial gas markets

and products are summarized in Section IV.D, infra.

        39.     Natural gas producers extract natural gas from gas-rich geological rock formations

and transport that gas through “gathering system” pipelines to major interstate gas pipelines, which

carry the gas toward end users.

        40.     Once produced and processed, natural gas is transported towards end users via an

extensive 300,000+ mile network of more than 200 different large diameter (16-48 inches), high-

pressure interstate and intra-state gas pipelines (“mainlines”) that crisscross North America. This

mainline transportation network includes more than 5,000 points at which gas can be received and

more than 11,000 points at which gas can be delivered, as well as more than 1,400 interconnection

points between different mainline pipelines, including several dozen major “hubs” where multiple



                                                   10
   Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23      Page 14 of 48




pipelines interconnect. The interstate and intra-state pipeline network also includes (1) more than

400 underground natural gas storage facilities connected to the pipelines that increase system

capacity and flexibility and (2) smaller-diameter “lateral” lines that carry mainline gas closer to

end users.

       41.      While some large customers (such as gas-fired electricity generation plants or large

industrial customers) obtain gas directly from the large interstate and intrastate pipelines, most

customers (including nearly all residences) obtain gas through local distribution companies

(“LDCs”) – i.e., utilities – which receive gas from a mainline transmission pipeline company and

distribute gas to the ultimate consumer (residences, commercial and governmental entities)

through a direct network of small-diameter distribution pipelines operated and maintained by the

LDCs. In the U.S., more than 1,300 LDCs maintain more than two million miles of local

distribution pipelines. These LDCs purchase gas at wholesale volumes to supply their customers

at retail volumes.

       42.     Utilities/LDCs function as local monopolies for gas distribution to most gas end

users, and operate under state regulation that ties the rates that LDCs charge to their customers for

gas to the costs that LDCs incur to obtain the gas for their customers. LDCs’ gas acquisition costs

are thus passed through, via LDC rates, to LDCs’ customers. Nearly all residential end users and

many commercial end users obtain gas from LDCs at such regulated rates. Certain commercial

and governmental end-users, however, elect not to obtain gas from LDCs at regulated rates.

Instead, these end users purchase gas from local or regional gas marketing companies. Such end-

users are referred to as “transportation” customers. Transportation customers do not pay LDCs for

gas supply even though they receive their gas via the LDC’s local gas pipeline network. Instead,

the LDCs obtain a fee for the access they provide.




                                                 11
   Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23      Page 15 of 48




        43.    Standing in between natural gas producers and the LDCs or natural gas end-users

are gas marketers. Natural gas marketers perform most gas trading in the U.S. Large, nationally-

integrated gas marketers, such as Macquarie, operate nationwide, purchasing large volumes of

natural gas from producers (or from other gas marketers) and then marketing and selling that gas

to LDCs, electricity generators, large commercial or industrial gas end-users, and other wholesale

market participants.

               2.      Natural Gas Markets and Trading

        44.    Although all natural gas is effectively identical, such that gas in California is

identical to gas in New York, natural gas trading and pricing is location-specific. Natural gas

trades always specify the delivery of gas to a particular location (typically, a point on a mainline

pipeline). The price of natural gas at that location reflects local supply and demand factors. As a

result, the prices at one location can differ from prices for delivery at other locations. Demand

factors can include local/regional weather: on cold days and in areas where winters are cold, natural

gas demand may be higher. Supply factors can include pipeline capacity constraints, the location’s

proximity to, and pipeline connections with, natural gas-producing basins, relative transportation

costs, etc.

        45.    Certain locations are more actively traded than most others, including hubs where

multiple pipelines interconnect or so-called “city gate” points where mainlines interconnect with

LDC distribution systems and other market centers.

        46.    Physical natural gas trades specify other key information: the buyer, the seller, the

delivery location, the term (the day or days on which gas will be delivered), the volume of gas to

be delivered each day during the term (typically expressed in MMBtu units), and the price

($/MMBtu, as discussed below).

        47.    Natural gas trades at a fixed price (e.g., $2.50/MMBtu) or based on a benchmark


                                                 12
   Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23      Page 16 of 48




price for a given location, often termed an “index” price. In benchmark index-priced transactions,

the counterparties agree to purchase/sell gas either (1) at a specified benchmark index price for

that delivery location on that delivery date (e.g., the Southern Star Gas Daily price for February

17, 2021), or (2) at some level (the “spread”) above or below the specified benchmark index price

(e.g., five cents below, or $5.000 above, the Southern Star Gas Daily price for February 17, 2021).

        48.     Currently, approximately 80% of total U.S. natural gas volumes trade based on

benchmark index prices, and only approximately 20% at fixed prices. As discussed in the

following sections (see Sections IV.A-B, infra), benchmark index prices for a given location are

based on, and represent the volume-weighted average price of, certain qualifying fixed-price

transactions at that location.

        49.     There are two basic categories of physical gas trades, distinguished by their term

and underlying purposes.

        50.     First, so-called “term” deals provide for delivery of fixed daily volumes of gas for

an entire calendar month (e.g., 5,000 MMBtu/day delivered each day of February 2021) or for a

multi-month period (e.g., a “winter” deal for delivery of 5,000 MMBtu/day delivered each day

between November 1, 2020 and March 31, 2021). Producers use term deals to secure sales or

customers for their core production output. LDCs use term deals to procure core, “baseload” gas

supplies. Typically, term deals are transacted at monthly benchmark prices for the applicable

location, in which, as discussed in Section IV.B immediately below, a benchmark price established

at the beginning of the month for that location is applied to all deliveries during that month.

        51.     Second, so-called “spot” deals typically provide for next-day delivery of gas, either

for a single day or for a multi-day period within a calendar month. LDCs use spot deals to cover

demand when baseload supply levels are inadequate to meet projections. Typically, spot deals are




                                                 13
   Case 5:23-cv-04116-DDC-ADM               Document 1          Filed 12/13/23   Page 17 of 48




transacted at daily benchmark prices for the applicable location, as detailed in Section IV.B

immediately below, or at fixed prices.

       52.     For next-day gas to reach its destination on the next day, the standard “timely”

market for next-day gas closes at 1:00 pm Central Time. Trades executed on a “timely” basis are

effectively guaranteed, absent extraordinary circumstances, to arrive at the scheduled time on the

following day. However, there are several further standard trade timelines, set forth below, that

provide for next-day delivery of certain “evening” trades, as well as same-day delivery trades

(“intraday”) for arrival in the afternoon, evening, or night.




       53.     Natural gas trades on exchanges, including exchanges operated by ICE and the

CME, and through bilateral, “over-the-counter” transactions negotiated and agreed to by buyer and

seller counterparties (often through electronic trading and communications platforms or by

telephone).

       B.      Platts Benchmark Prices for Natural Gas

       54.     Platts is the primary developer and publisher of benchmark price indices for


                                                 14
      Case 5:23-cv-04116-DDC-ADM             Document 1       Filed 12/13/23    Page 18 of 48




physical and financial natural gas.

          55.    During 2019, Platts’ and other benchmark index prices provided a basis for 82% of

total physical natural gas transaction volumes in the U.S.5 Fixed prices provided the remaining

18% of total physical natural gas traded in the U.S. As described below, natural gas benchmark

indices are based on natural gas fixed price transactions.

          56.    Platts calculates and publishes daily and monthly benchmark index prices for

dozens of “locations” (also termed “price points”) within eight broader regions of the United

States. Each of these locations, as defined by Platts, generally consists of a particular stretch of

interstate natural gas pipeline (or pipelines) or a hub area where multiple pipelines interconnect.

As Platts explains, these location-specific benchmark price indices “are designed to produce price

assessments and indices that are representative of market value, and of the particular markets to

which they relate.”6

          57.    For each location,7 Platts publishes a daily benchmark index price and a monthly

benchmark index price, which inform transactions for natural gas: (1) the “daily” or “spot” market,

in which gas is purchased for next-day delivery (“next-day gas”); and (2) the “monthly” or “term”

market, in which fixed volumes of gas are procured, sometime before the end of a month, for daily

flow on each day during the entire following calendar month (or months) (e.g., 10,000 MMBtu per

day for each day of February 2021).

          58.    Platts’ daily benchmark index price – termed the Gas Daily price (and also referred



5
 See Federal Energy Regulatory Commission, “Actions Regarding the Commission’s Policy on
Price Index Formation and Transparency, and Indices Referenced in Natural Gas and Electric
Tariffs,” Federal Energy Regulatory Commission, Docket No PL20-3-000, Fed. Reg. 83940, at
83941 (Dec. 23. 2020).
6
    See Platts Methodology, at p. 2.
7
    Platts defines each location in the Platts Methodology, at pp. 9-17.


                                                   15
    Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23      Page 19 of 48




to as the Gas Daily Average, Gas Daily midpoint, or Gas Daily index – and hereinafter, the “Gas

Daily” price) – is of primary relevance here.

       59.     The Platts Gas Daily price, for any given location, is intended to be – and functions

as – a representative “market” price for that location. Platts Methodology, at 2. To determine such

a representative daily market price for a given location, Platts: (1) on the prior day, reviews certain

fixed-price physical natural gas transactions for next-day delivery at that location (“qualifying

transactions”);8 and (2) calculates the volume-weighted average price of those transactions, which

becomes the following day’s Gas Daily price for that location. See Platts Methodology, at 4-5.

For example, the February 17, 2021 Southern Star Gas Daily price was based on Platts’ review of

February 16, 2021 fixed-price trades for next-day gas delivery to Southern Star. Pricing for

weekends and holidays differs slightly.9

       60.     Platts publishes final Gas Daily prices for each location, for each day, in a report

titled the Platts Gas Daily Report, which Platts issues to subscribers at approximately 5:00 pm

Central Time of the prior day (made possible by the 1:00 pm Central Time closing of the next-day

natural gas market, see n. 8 supra.). See Platts Methodology, at 5. For example, the February 17,

2021 Southern Star Gas Daily price – based on Platts’ review of February 16, 2021 fixed-price



8
   The fixed-price, next-day transactions reviewed by Platts consist of: (1) transactions reported
directly to Platts by market participants who have elected to provide Platts with their natural gas
trading data (“Platts price submitters”), and (2) ICE exchange trades and/or other ICE trade data.
See Platts Methodology, at 4-5. For gas to arrive on a next-day basis at its specified delivery point,
it must be “nominated” (or scheduled) to pipelines no later than 1:00 pm Central Time of the prior
day, which marks the close of the next-day gas market. Hence, the prior-day trades incorporated
by Platts into Gas Daily prices are trades executed prior to 1:00 pm Central Time.
9
  For weekends, Friday fixed-price trades are used to determine a Gas Daily price that applies to
deliveries on Saturday, Sunday and Monday. Mid-week holidays receive similar treatment.
Three-day holiday weekends (e.g., with a Monday holiday) precipitate advance determination of
a constant Gas Daily price for a four-day period (e.g., Friday trades generate a Gas Daily price for
Saturday, Sunday, Monday and Tuesday).


                                                  16
     Case 5:23-cv-04116-DDC-ADM           Document 1       Filed 12/13/23        Page 20 of 48




trades for next-day gas delivery to Southern Star – was published at approximately 5:00 pm Central

Time on February 16, 2021. The Platts Gas Daily report, in addition to reporting benchmark Gas

Daily prices for each location (which it terms the “midpoint” price), also reports the number and

aggregate volumes of the underlying qualifying transactions for each location.

       61.     Financial gas transactions can also rely on Platts benchmark Gas Daily. Many

financial gas products are priced, valued, and settled based on the Platts Gas Daily, including

specific financial gas products tied to the Southern Star Gas Daily prices discussed below in

Section IV.D, infra.

       C.      The Southern Star Location and its Benchmark Southern Star Gas Daily Price

       62.     The Southern Star Central Gas Pipeline (the “Southern Star Pipeline”) is an

interstate natural gas pipeline centered in Kansas and extending to Missouri, Oklahoma, Colorado,

Wyoming, Texas, and Nebraska.10 A map of its approximately 6,000 miles of “mainline” pipe is

provided below:




10
   The eastern half of Kansas, Missouri and northern Oklahoma constitute the Southern Star
Pipeline’s “market zone” – the primary population or market centers to which gas is delivered.
Remaining areas, including the western half of Kansas, Colorado, Wyoming, northern Texas and
Oklahoma, constitute the “production zone” – areas which primarily collect natural gas from
producers and/or producing locations, in order to ship it to the market zone or to interconnecting
other pipelines.


                                               17
   Case 5:23-cv-04116-DDC-ADM             Document 1       Filed 12/13/23      Page 21 of 48




       63.    Platts defines its Southern Star trading location as follows:

       Southern Star, Tx.-Okla.-Kan. (daily and monthly market)

       Deliveries into Southern Star Central Gas Pipeline’s system from Hemphill County
       in the Texas Panhandle eastward, from Carter County in south-central Oklahoma
       northward, and from Grant County in southwestern Kansas eastward.

Platts Methodology, at 11.

       64.    Platts’ Southern Star trading location means that Platts’ Southern Star location is

primarily comprised of (and centered on) the Kansas and Missouri stretches of the Southern Star

Pipeline and also includes small segments of the Southern Star Pipeline in Oklahoma and Texas.

       65.    All physical natural gas transactions for delivery of natural gas to Southern Star on

February 17, 2021 and relying on the Southern Star Gas Daily price used the February 17, 2021




                                               18
   Case 5:23-cv-04116-DDC-ADM              Document 1      Filed 12/13/23   Page 22 of 48




Southern Star Gas Daily price.

       66.     Platts’ Southern Star Gas Daily prices for each day during February 2021 are set

forth below:


                             Delivery
                              Date              Southern Star Location
                                       Platts Gas Daily Prices
                                  2/1/21                   $2.545
                                  2/2/21                   $2.680
                                  2/3/21                   $2.820
                                  2/4/21                   $2.790
                                  2/5/21                   $2.850
                                  2/6/21                   $3.560
                                  2/7/21                   $3.560
                                  2/8/21                   $3.560
                                  2/9/21                   $3.655
                                 2/10/21                   $4.030
                                 2/11/21                   $9.620
                                 2/12/21                  $44.780
                                 2/13/21                 $329.595
                                 2/14/21                 $329.595
                                 2/15/21                 $329.595
                                 2/16/21                 $329.595
                                 2/17/21                 $622.785
                                 2/18/21                  $44.530
                                 2/19/21                   $7.945
                                 2/20/21                   $4.385
                                 2/21/21                   $4.385
                                 2/22/21                   $4.385
                                 2/23/21                   $2.690
                                 2/24/21                   $2.700
                                 2/25/21                   $2.665
                                 2/26/21                   $2.465
                                 2/27/21                   $2.465
                                 2/28/21                   $2.465




                                                19
     Case 5:23-cv-04116-DDC-ADM             Document 1       Filed 12/13/23      Page 23 of 48




       D.      Financial Gas Products (Natural Gas Derivatives) Tied to the Southern Star
               Gas Daily Price

       67.     The Southern Star Gas Daily price also impacts exchange-traded “financial” natural

gas products (i.e., derivatives), including (1) the Southern Star Index Futures contract (ICE

symbol: OUI) traded on the ICE Futures U.S. exchange, and cleared by ICE Clear Europe; (2) the

Southern Star Swing Futures contract (ICE symbol: OUS) on the ICE Futures U.S. exchange, and

cleared by ICE Clear Europe. The Complaint refers to these futures contracts11 (and all other

exchange-traded futures and options contracts whose value and settlement are likewise linked to

the Southern Star Gas Daily price), collectively as the “Southern Star Derivatives.”

       68.     The Southern Star Swing Futures contract (ICE symbol: OUS) is traded on the ICE

Futures U.S. exchange, a Designated Contract Market under the CEA registered with and regulated

by the CFTC, and cleared by ICE Clear Europe, a Derivatives Clearing Organization registered

with the CFTC.12 The Southern Star Swing Future is a daily-cash settled futures contract with a

set size of 2,500 MMBtu, in which the purchaser pays a fixed price per MMBtu to the seller (e.g.,

$2/MMBtu, or $200/MMBtu), and receives in exchange, from the seller, the Southern Star Gas



11
   A futures contract is a derivative that allows market participants to offset or assume the risk of
a price change of an underlying commodity over time. Futures contracts detail the quality and
quantity of the underlying commodity, and are standardized to be identical for all participants to
facilitate trading on futures exchanges such as ICE. Given the standardization of the contract
specifications, the only contract variable is price, which is discovered by bidding and offering (also
known as quoting) until a trade occurs. Cash-settled futures contracts result in a cash payment
between the futures contract parties reflecting the difference between the originally contracted
price of the futures contract and the final market price of the futures contract at the time of
settlement. The value of a futures contract fluctuates over time until the expiration date based on
fluctuations in the price of the underlying commodity. The fact that futures contracts are
standardized and exchange-traded makes these instruments indispensable as means of hedging and
speculating by commodity producers, consumers, traders, and investors.
12
  ICE Clear Europe provides clearing services for all futures and options contracts traded on ICE
Futures U.S. Energy Division (including all natural gas futures and options) as well as further
products traded on various European exchanges operated by ICE.


                                                 20
   Case 5:23-cv-04116-DDC-ADM              Document 1       Filed 12/13/23      Page 24 of 48




Daily price per MMBtu, for each day in the contact period (which can be as short as one day and

as long as 65 consecutive days). Put simply, swing futures feature an exchange of a fixed price

for a benchmark price (in this instance, the Southern Star Gas Daily price). A market participant

believing that the benchmark price (here, the Southern Star Gas Daily price) will rise during the

contract period can seek to speculate on or capture that rise by entering into a swing future.

       69.     The Southern Star Index Futures contract (ICE symbol: OUI) is likewise traded on

the ICE Futures U.S. exchange and cleared by ICE Clear Europe. The Southern Star Index Future

is a monthly cash-settled futures contract with a set size of 2,500 MMBtu, whose value is a function

of the difference between two different Southern Star benchmark prices determined by Platts,

namely (1) the FOTM (a/k/a Inside FERC) benchmark price for Southern Star for a given month

(or months), calculated by volume-weighted average price of fixed-price next-day natural gas

transactions conducted during the last three trading days of the prior month (e.g., January 2021),

and (2) the average of all daily Southern Star Gas Daily prices for the same month (or months).

While the FOTM price stays constant for the entire month, the Gas Daily price for each day within

the month can fluctuate, depending on the prices and volumes of prior-day qualifying transactions.

The more the Southern Star Gas Daily price diverges from the Southern Star FOTM price during

the month, the greater the value of the Southern Star Index Future. A market participant, believing

that the Gas Daily price (here, the Southern Star Gas Daily price) will rise and thereby diverge

from the constant FOTM price during the contract period, can speculate on the movement of the

Gas Daily price through entering into an index future.

       E.      The Southern Star Gas Daily Price is Highly Susceptible to Manipulation

       70.     As explained above, the Platts Gas Daily Methodology provides an average natural

gas price within a given location by (1) calculating the volume-weighted average price of (2) all

prior-day, fixed-price natural transactions for next-day delivery within the location, transacted on


                                                21
   Case 5:23-cv-04116-DDC-ADM             Document 1       Filed 12/13/23      Page 25 of 48




ICE or reported to Platts. See Section IV.B, supra.

       71.     The Southern Star Gas Daily price is highly susceptible to manipulation because

there are far fewer qualifying transactions each day in Southern Star than in nearly all other Mid-

Continent (and U.S.) trading locations – and, relatedly, substantially lower daily qualifying

transaction volumes.

       72.     In February 2021, qualifying transactions in Southern Star averaged fewer than

fifteen per day, with low daily transaction volumes. Other Mid-Continent trading locations during

the same time averaged much higher daily qualifying transactions and volumes.

       73.     The Southern Star Gas Daily price of $329.595 set for February 13-16, 2021 (a

holiday weekend) consisted of seven qualifying transactions on February 12, 2021, totaling 50,000

MMBtu. The February 17, 2021 Southern Star Gas Daily price, $622.875, was based on only two

qualifying transactions on February 16, 2021, totaling only 16,000 MMBtu.

       74.     Therefore, in Southern Star generally – and during Winter Storm Uri particularly –

the addition of even a single qualifying transaction had a greater ability to materially move the

benchmark Gas Daily price than in nearly all other trading locations.

       F.      Winter Storm Uri and Gas Daily Prices

       75.     During approximately February 13-17, 2021, a winter storm traveled from the

Pacific Northwest of the U.S. to the Mid-Continent, accompanied by freezing weather (“Winter

Storm Uri”). Winter Storm Uri’s cold temperatures increased demand for natural gas and, at the

same time, constricted gas production and supply. On February 14, 2021, Kansas’s then-Governor

Laura Kelly issued a State of Disaster Emergency proclamation, citing the storm’s “stress on the

energy infrastructure.”

       76.     These conditions understandably increased natural gas prices during this time.

However, the natural gas prices and benchmark prices in multiple Mid-Continent locations – and


                                                22
     Case 5:23-cv-04116-DDC-ADM            Document 1        Filed 12/13/23      Page 26 of 48




Southern Star particularly – were not readily understandable but rather, as aptly described by the

American Public Gas Association, “unprecedented and unthinkable” (see ¶ 97, infra; emphasis in

original). For example, Southern Star natural gas benchmark prices in early February were

approximately $2.50/MMBtu. Still, they spiked during February 13-16, 2021, to levels more than

100 times higher ($329.595/MMBtu) and, on February 17, 2021, to a level more than 200 times

higher ($622.785/MMBtu).

       77.     These natural gas prices caused many LDCs to incur extraordinarily high natural

gas purchase costs for February 2021 – often in excess of, or multiples of, LDCs’ annual gas

purchase costs.

V.     MACQUARIE ENTERS INTO THE TRADE TO MANIPULATE                                           THE
       SOUTHERN STAR GAS DAILY PRICE IN VIOLATION OF THE CEA

       A.      Macquarie’s February 16, 2021 Trade Was Incorporated into the February
               17, 2021 Southern Star Gas Daily Price

               1.       Macquarie Entered into the Trade on February 16, 2021

       78.        On the morning of February 16, 2021, Macquarie executed a natural gas trade in

which Macquarie agreed to purchase natural gas at an inflated fixed price to be delivered to

Macquarie on the following day, February 17, 2021 at a Southern Star delivery point known as the

Kansas Hugoton Pool (the “Trade”). Macquarie or another party reported the Trade to Platts.

       79.     The publication of the Trade (via reporting or other means) was a false signal to

others in the market for Southern Star natural gas that the market price for natural gas at that

location was much higher than it should have been due to natural market forces. This manipulation

of the Southern Star Gas Daily price resulted in an artificial price that was not a true indicator of

the market.




                                                 23
   Case 5:23-cv-04116-DDC-ADM            Document 1       Filed 12/13/23     Page 27 of 48




               2.       The Trade was Incorporated into the February 17, 2021 Southern
                        Star Gas Daily Price

       80.     The terms of the Trade –a natural gas transaction at a fixed price for the firm,

physical next-day delivery within Southern Star – made the Trade a qualifying transaction

concerning the February 17, 2021Southern Star Gas Daily benchmark price.

       81.     The Trade drove the February 17, 2021 Southern Star Gas Daily price. The Platts’

February 17, 2021 Gas Daily Report shows a Southern Star Gas Daily price of $622.785/MMBtu.

       B.      The Trade Materially Altered the February 17, 2021 Southern Star Gas Daily
               Price

       82.     The Trade materially altered and sharply inflated the February 17, 2021 Southern

Star Gas Daily price.

       83.     There were only two trades that established the February 17, 2021 Southern Star

Gas Daily price, $622.785: the Trade and one other qualifying transaction (“the Other Trade”).

       84.     Had Macquarie not made the Trade, the February 17, 2021 Southern Star Gas Daily

price would have been much lower and only based on the “Other Trade.”

       85.     The Trade thus elevated the February 17, 2021 Southern Star Gas Daily price far

beyond what it would have been absent the Trade.

       C.      The February 17, 2021 Southern Star Gas Daily Price was an Artificial Price

               1.       The Trade’s Price Did Not Reflect, and was Disconnected From,
                        Prevailing Market Forces and Supply/Demand Factors

       86.     The extremely high price Macquarie agreed to pay for the gas (and the relatively

large volume of gas Macquarie agreed to purchase at that extremely high price) established the

Trade’s influence on the February 17, 2021 Southern Star Gas Daily price.

       87.     The Trade’s price and the resulting February 17, 2021, Southern Star Gas Daily

price ($622.785/MMBtu) were artificial. Neither price reflected basic supply and demand nor



                                               24
   Case 5:23-cv-04116-DDC-ADM               Document 1        Filed 12/13/23      Page 28 of 48




regular market forces.

       88.     The price that Macquarie agreed to pay in the Trade was an off-market price. The

Trade is the single highest price paid for Southern Star gas and far exceeds other contemporaneous

transactions by Macquarie and others. Reporting the Trade that it would be included in the

Southern Star Gas Daily price necessarily signaled to the market that it was representative of the

market even though it was not.

       89.     Second, the other qualifying transaction on the same day (February 16, 2021) for

the exact location (Southern Star) – i.e., the Other Trade – was transacted at a price materially

lower than the Trade. The identity in time, place, and terms shared by the Trade and the Other

Trade meant that both were subject to substantially similar market forces and supply and demand

factors. However, the sharply disparate prices at which these two otherwise similar trades were

transacted indicate, at best, that only one of these two trade prices reflected those applicable market

forces, and the other – far distanced in price – did not.

       90.     Third, all available data indicate that the Trade, rather than the Other Trade, was

the unrepresentative outlier.

       91.     The price of the Other Trade is also consistent with all contemporaneous non-

qualifying Southern Star transactions currently known to Plaintiff for February 16-17, 2021, while

the price of the Trade, again, is not. Indeed, on February 16, 2021, Macquarie bought Southern

Star gas in two separate transactions at fixed prices materially lower than the Trade.

       92.     The artificially high price of the Trade, when combined with relatively large

volume and the paucity of other qualifying transactions on February 16, 2021 (when there was

only one qualifying transaction for Gas Daily pricing other than the Trade), caused the February

17, 2021 Southern Star Gas Daily price to be similarly artificial, pulling the benchmark price far




                                                  25
     Case 5:23-cv-04116-DDC-ADM              Document 1       Filed 12/13/23      Page 29 of 48




away from normal otherwise-prevailing market pricing and closer to Trade’s price.

                2.      Market Participant Concerns with Natural Gas Prices During Winter
                        Storm Uri Have Singled Out the February 17, 2021 Southern Gas
                        Daily Price

         93.    Following Winter Storm Uri, natural gas market participants and observers

repeatedly expressed concerns with the high prices for Mid-Continent natural gas witnessed during

Winter Storm Uri. Those concerns singled out the February 17, 2021 Southern Star Gas Daily

price as an incorrect, off-market price and a locus of potential manipulation.

         94.    For example, an April 30, 2021, report authored by Missouri Public Service

Commission staff expressed “particular concern” with the February 17, 2021 Southern Star Gas

Daily price and suggested that it was not an accurate or representative market price:

         The daily index escalation in price [] is, to the Staff’s knowledge, without precedent
         for interstate pipelines serving Missouri.

         Of particular concern is the price level for the February 17th flow date. On
         that day, the published price for gas flowing on Southern Star was $622.785 per
         MMBtu.…[O]nly two deals with a related volume of 16,000 MMBtu were used to
         establish the daily index price for February 17th. It is difficult to understand how
         so few transactions can set the price of a daily index that detrimentally impacts
         hundreds of thousands of customers. (citations omitted)13

         95.    At least two market participants, both substantial purchasers of Southern Star gas,

made separate complaints to Platts concerning the February 17, 2021 Southern Star Gas Daily

price.

         96.    Similarly, the American Public Gas Association, on behalf of its 735 members

(municipal gas distribution systems, public utility districts, county districts, and other public




13
   See Staff Report, “In the Matter of The Cause Of The February 2021 Cold Weather Event and
Its Impact on Investor Owned Utilities,” Missouri Public Service Commission, File No. AO-
2021-0264 (April 30, 2021), at 61, available at:
https://efis.psc.mo.gov/mpsc/commoncomponents/viewdocument.asp?DocId=936353009.


                                                  26
   Case 5:23-cv-04116-DDC-ADM              Document 1      Filed 12/13/23     Page 30 of 48




agencies with gas distribution facilities) who principally purchased gas based on benchmark price

indices, implored the Federal Energy Regulatory Commission (“FERC”) to “specially investigate”

and “verify the accuracy” of the “extraordinary prices” exhibited by the benchmarks, particularly

the February 17, 2021 Southern Star Gas Daily price:

       The winter storm that brought record sustained cold causing such human misery to
       Texas also profoundly affected the mid-Continent at the same time. Natural gas
       index prices quickly rose to unprecedented and unthinkable levels. . . For the
       majority of buyers, including APGA members, the daily index was the price paid
       for incremental quantities purchased in response to the record cold. . .

       What happened in the price indices from Trade Date February 11 through February
       19 had an enormous economic impact on consumers and the economies of energy-
       consuming states—both the direct use of natural gas and gas-fired electric
       generation. It is almost impossible to overstate these impacts. For example, some
       APGA members were compelled to pay for February gas deliveries, which they
       otherwise would have paid for an entire year. Any error or manipulation of those
       index prices could have translated into billions of dollars. . . Accordingly, the
       Commission should scrutinize how the indices behaved during Winter Storm Uri.

       APGA offers below a sampling of indices that affected a number of its members
       during this period. . .

                                               ***
                                           Southern Star

           Flow Date(s)            Price             Vol (MMBtu)             Deals
               FOM           $ 2.520                       83                 14
              12-Feb         $ 44.789                     104                 26
            Feb 13-16        $ 329.595                     50                  7
              17-Feb         $ 622.785                     16                  2
              18-Feb         $ 44.530                      75                 13
                                               ***

       Perhaps the highest pipeline penalty ever calculated came during the storm and was
       on Southern Star Central Gas Pipeline, Inc.—one of the reasons that the pipeline
       sought the Commission’s blessing for it to waive them. The applicable OFO
       Penalties under Southern Star’s Tariff are calculated at 2.5x the average Gas Daily
       Index for Southern Star, which peaked during the OFO Period at over $622 per
       MMBtu. . .

       Moreover, this Commission-authorized penalty structure—typical for interstate
       pipelines—underscores the necessity for the Commission to verify the accuracy
       and efficacy of the daily index on which they are based. As noted above, that


                                                27
     Case 5:23-cv-04116-DDC-ADM            Document 1        Filed 12/13/23      Page 31 of 48




         $622 daily index price was developed from only two deals. . . Given these
         extraordinary prices, the Commission must specially investigate. (italics in
         original; bold added for emphasis)14

         97.   In October 2021, Reuters reported that the U.S. Department of Justice was

investigating “suspected manipulation of energy pricing benchmarks published by S&P Global

Platts” and “probing suspected manipulative behavior by individual traders when submitting []

deal prices to Platts’ price assessments for oil and other energy benchmarks . . .”15

         D.    Macquarie Possessed the Ability to Influence Southern Star Gas Daily Prices
               and Caused the Artificially High February 17, 2021 Southern Star Gas Daily
               Price

               1.      Macquarie Possessed the Ability to Influence Southern Star Gas Daily
                       Prices

         98.   Macquarie’s sheer size – in North America overall, in the Mid-Continent region,

on the Southern Star pipeline, and in Kansas – provided Macquarie with the ability to manipulate

benchmark Southern Star Gas Daily price through manipulative trading of Southern Star physical

gas. Moreover, as Southern Star daily benchmark prices were usually determined based on less

than 15 Southern Star fixed price trades (see Section IV.E, supra), Macquarie’s local size,

resources, and trading activity provided it with adequate resources to influence Southern Star Gas

Daily pricing, resources Macquarie and its trader were necessarily aware of at the time of the

Trade.

         99.   According to Natural Gas Intelligence’s (“NGI”) analysis of gas marketer sales




14
   See American Public Gas Association, “Initial Comments of the American Public Gas
Association,” FERC Docket No. PL20-3-000 (March 22, 2021), at 4-6 and 9, available at:
https://www.apga.org/viewdocument/apga-comments-on-ferc-actions-regar.
15
   See Chris Prentice and Jody Godoy, “Exclusive: U.S. Justice Department Probes Suspecting
Manipulation of Platts Benchmarks,” Reuters (Oct. 4, 2021), available at:
https://www.reuters.com/business/energy/exclusive-us-justice-department-probes-suspected-
manipulation-platts-benchmarks-2021-10-04/.


                                                 28
     Case 5:23-cv-04116-DDC-ADM           Document 1       Filed 12/13/23      Page 32 of 48




volumes for the first calendar quarter of 2021, Macquarie was the second largest natural gas

marketer in North America during that period, delivering 11.20 billion cubic feet of natural gas to

its customers and counterparties each day.16




       100.    During the relevant period, Macquarie had a leading presence as a natural gas

marketer in the Mid-Continent region, on the Southern Star pipeline, and in Kansas.

       101.    In Kansas, Macquarie was one of the largest gas suppliers to Kansas’ main gas




16
  For each quarter between 2020 and the present for which NGI rankings are available, Macquarie
invariably ranked among the top five natural gas marketers in North America.


                                                29
     Case 5:23-cv-04116-DDC-ADM             Document 1     Filed 12/13/23      Page 33 of 48




utilities – KGS, and KMGA, Black Hills Energy, and MidWest Energy, Inc.17

       102.    Macquarie maintained a leading presence on the Southern Star pipeline and as a

trader of Southern Star gas. Macquarie was responsible for a significant percentage of all such

sales and purchases during February 2021 (by volume).

       103.    Macquarie’s market share of qualifying transactions for Southern Star Gas Daily

pricing, indicates that Macquarie could influence Southern Star Gas Daily pricing, including

through purchasing Southern Star gas at fixed prices for next-day delivery.

               2.      Macquarie Intentionally Caused an Artificially High February 17,
                       2021 Southern Star Gas Daily Price

       104.    Macquarie had motive to inflate the benchmark Southern Star Gas Daily February

17, 2021 price because Macquarie was (and knew it would be) a net seller of physical natural gas

priced at (or impacted by) that benchmark.

       105.    Macquarie’s market power on the Southern Star pipeline afforded it the opportunity

to extract uneconomic profits using fixed price trades, such as the Trade, to influence benchmark

prices higher, in favor of its market position.

       106.    As a large net seller of natural gas tied to the February 17, 2021 Southern Star Gas

Daily price, Macquarie stood to benefit from the higher benchmark price and thus had the motive

to lift that benchmark price higher.

       107.    The spike in the February 17, 2021 Southern Star Gas Daily prices engendered by

the Trade positioned Macquarie to receive an additional profit, based on its short and long term



17
  Macquarie was also one of the five largest suppliers of gas to Oklahoma’s utilities. See Jack
Money and Dale Denwalt, “Who got paid during the February 2021 storm? More than 65
Oklahoma companies split a $3 billion+ pot,” The Oklahoman (Feb. 10, 2022) (compiling and
analyzing data submitted to the Oklahoma Corporation Commission’s Public Utility Division),
available   at:   https://www.oklahoman.com/story/business/energy-resource/2022/02/10/data-
submissions-contextualize-utilities-winter-storm-costs/6723584001/.


                                                  30
   Case 5:23-cv-04116-DDC-ADM              Document 1       Filed 12/13/23      Page 34 of 48




contracted trading volumes for February 17, 2021 Southern Star gas at the Gas Daily price and

delivered volumes of spot purchases of gas.

       108.    Put simply, by entering into the Trade, Macquarie’s manipulation of the benchmark

February 17, 2021 Southern Star Gas Daily price materially benefited Macquarie while harming

others depending on the gas distributed on the Southern Star pipeline, including many Kansans.

       109.    The incremental benefits Macquarie obtained by the effect of the Trade on these

other trades more than offset any losses Macquarie incurred on the Trade itself, notwithstanding

the uneconomical price Macquarie agreed to pay in the Trade.

       110.    These facts strongly indicate that Macquarie was not only aware of the impact the

Trade would have on the market, including on downstream purchasers of gas from the Southern

Star Pipeline, but intended the results of the Trade – namely, a manipulated benchmark price that

dramatically affected the market and falsely signaled to the market that the Trade price was the

product of market forces.

       E.      Macquarie’s Extraordinary Profits from February 2021 Gas Transactions
               Utterly Transformed MGL’s Fiscal 2021 Results

       111.    MGL operates and reports based on a fiscal year ending on March 31. MGL’s 2021

fiscal year ended on March 31, 2021 (“Fiscal 2021”).

               1.      On February 9, 2021, Just Days Prior to Winter Storm Uri, MGL
                       Warned that it Expected Fiscal 2021 Profits to Decline

       112.    On February 9, 2021 (shortly before Fiscal 2021’s end), MGL provided an

“Operational Briefing,” including a press release, investor presentation, and an analyst conference

call hosted by MGL’s CEO, CFO, and several MGL group operating heads, in which MGL warned

that it then expected Fiscal 2021 results “to be slightly down” from prior-year fiscal 2020 results.

See February 9, 2021 MGL Operational Briefing press release; Operational Briefing presentation,

at 20. MGL warned that results for its CGM division (in which Macquarie was housed) during the


                                                31
     Case 5:23-cv-04116-DDC-ADM            Document 1        Filed 12/13/23      Page 35 of 48




second half of 2021 were expected to be “slightly down” from the first half of 2021. See

Operational Briefing presentation, at 19; Operational Briefing conference call, transcript at 8.

MGL also reported that CGM results for the first three quarters of Fiscal 2021 were “broadly in

line” with results from the prior-year period (i.e., the first three quarters of fiscal 2020).

Operational Briefing conference call, transcript at 3.

       113.    MGL’s February 9, 2021 warnings were made: (1) with MGL’s results for the third

quarter of Fiscal 2021 (ended December 31, 2020) in hand, and with interim results from the first

month of Fiscal 2021’s fourth quarter (i.e., January 2021 results);18 (2) with slightly less than two

months remaining in Fiscal 2021; and (3) just days before natural gas price spikes hit Southern

Star and other adjacent Mid-Continent locations.

               2.      On February 22, 2021, Just Days After Winter Storm Uri and Less
                       Than Two Weeks After Warning that Profits Would Decline, MGL
                       Revised its 2021 Profit Outlook to a 10% Increase

       114.    However, just two weeks after issuing these warnings, and just days after the natural

gas price spikes at Southern Star and other Mid-Continent locations subsided, MGL issued a

revised – and utterly reversed – Fiscal 2021 outlook. In a February 22, 2021 press release titled

“Macquarie Group Provides Update to Short Term Outlook,” MGL announced that it now

expected Fiscal 2021 financial results not to be “slightly down” from fiscal 2020, but instead “to

be up approximately 5% to 10%” versus fiscal 2020.

               3.      Macquarie’s Natural Gas Trading During Winter Storm Uri
                       Generated Net Profits to MGL Nearing $A1 Billion and Reversed the
                       Earnings Warning

       115.    MGL’s February 22, 2021 press release left no doubt as to what had caused MGL’s




18
  See Operational Briefing conference call, transcript at 11 (discussing January 2021 operations
and results).


                                                 32
     Case 5:23-cv-04116-DDC-ADM           Document 1       Filed 12/13/23     Page 36 of 48




yearly results to swing from a slight loss to a substantial profit in a mere two weeks, explaining

that:

        Extreme winter weather conditions in North America have significantly increased
        short-term client demand for Macquarie’s capabilities in maintaining critical
        physical supply across the commodity complex and, particularly in relation to gas
        and power.

        Macquarie’s Commodities and Global Markets (CGM) business physically ships
        gas on most major pipelines across the U.S. and, over time, has built capacity to
        support clients by delivering power and physical commodities to help them meet
        the unexpected needs of their customers.

        116.   As Reuters reported on the same day, “Macquarie Group earned big profits off the

winter storms sweeping across [] U.S. states, with the gains from its trading operations changing

the Australian banks’ outlook for the year. The company is the second-largest gas marketer in

North America behind oil major BP, and the week of big trading revenue has boosted the bank’s

overall profit for the year by 10%.”19

        117.   On May 7, 2021, MGL reported its Fiscal 2021 results via a press release, investor

presentation, conference call with analysts and investors hosted by MGL’s CEO and CFO, and

publication of MGL’s annual report. Consistent with the reversal of fortune reported on February

22, 2021, MGL reported Fiscal 2021 profits exceeding $A3.0 billion, marking a 10% increase over

fiscal 2020.

        118.   MGL attributed CGM’s extraordinary performance during the fourth quarter of

Fiscal 2021 to, in largest part, Macquarie’s February 2021 activities in trading physical and

financial commodities (which MGL termed “inventory management and trading”) and further




19
  See Paulina Duran and Jonathan Barrett, “Australia’s Macquarie Reaps Windfall Profits from
U.S. Winter Freeze,” Reuters (Feb. 22, 2021), available at: https://www.reuters.com/article/us-
macquarie-group-outlook/australias-macquarie-reaps-windfall-profits-from-u-s-winter-freeze-
idUSKBN2AM01O.


                                               33
     Case 5:23-cv-04116-DDC-ADM           Document 1       Filed 12/13/23   Page 37 of 48




financial commodities trades (which MGL referred to, somewhat obliquely, as “risk

management”),20 and particularly, in U.S. physical and financial gas:

       CGM delivered a net profit contribution of $A2,601 million, up 50% from $A1.738
       million FY 20. The result was driven by increased revenues throughout the year
       across the Commodities platform with strong risk management results across
       Resources, North American Gas and Power, EMEA Gas and Power and
       Agriculture. Inventory Management and Trading was up across multiple sectors
       with improved results in Oil, North American Gas and Power and Precious Metals.
       (May 7, 2022 MGL press release, at 2.)

                                              ***

       [MGL] Income Statement Key Drivers

       Net interest and trading income of $A5,677m, up 20% on FY 20

       Higher income in CGM mainly driven by Inventory management and trading
       in North American Gas and Power, Oil and Precious Metals due to market
       dislocations. . . (MGL May 7, 2022 presentation, at 26)

                                              ***

       CGM

       (iii) Inventory management and trading

       Inventory management and trading income of $A976 million for the year
       ended 31 March 2021 increased significantly from $A178 million in the prior
       year driven by market dislocations and increased volatility. Increased
       contributions were recorded in North American Gas and Power, Oil and
       Precious Metals, with North American Gas and Power impacted by increased
       volatility primarily associated with extreme weather conditions in 4Q21. (MGL
       May 7, 2022 “Macquarie Group Management Discussion & Analysis” report, at
       19) (emphasis added)

                                              ***

       Commodities and Global Markets – Key Drivers

       Commodities



20
  See e.g. MGL May 7, 2021 “Macquarie Group Management Discussion & Analysis” report, at
19 (“Commodities. (i) Risk management products. Income from risk management products is
generated from the provision of hedging and risk management services to clients.”)


                                               34
   Case 5:23-cv-04116-DDC-ADM               Document 1       Filed 12/13/23      Page 38 of 48




       Increased Risk Management revenue across the commodities platform driven by
       increased contributions from Resources, North American Gas and Power, EMEA
       Gas and Power and Agriculture due to increased client activity. . .

       Increased opportunities across multiple sectors in inventory management and
       trading driven by market dislocations and increased volatility. Strong results were
       recorded in Oil, North American Gas and Power, and Precious Metals. . . (MGL
       May 7, 2022 presentation, at 33) (emphasis added)

       119.    More particularly, MGL revealed on May 7, 2021 that CGM Fiscal 2021 net profits

totaled $A2.60 billion, up 50% from $1.74 billion in fiscal 2020. See MGL May 7, 2022 press

release, at 2. Given that results from the first three quarters had been left 2021 flat with 2020, the

entire Fiscal 2021 uplift of nearly $A1 billion (specifically, $A860 million) was generated solely

by CGM’s results in the fourth quarter of Fiscal 2021 – i.e., January-March 2021.

       120.    Astoundingly, CGM’s Fiscal 2021 net profits from “Inventory management and

trading” (i.e., physical and financial commodities activities) neared $A1 billion (specifically,

$A976 million) – more than quintupling MGL’s fiscal 2020 net profits from the same activities

($A178 million). Further, Fiscal 2021 net profits from “risk management” (financial commodities

activities) reached $A1.46 billion, an increase of $A167 million over fiscal 2020 “due to increased

client hedging activity as a result of volatility and commodity price movements.” Id.

       121.    Indeed, incremental CGM 2021 net profits from commodities “inventory

management and trading” ($A798 million) and additional financial commodities “risk

management” ($A167 million) accounted for more than 100% of CGM’s Fiscal 2021 improvement

over fiscal 2020 (offset by Fiscal 2021 declines in other CGM product lines). See MGL May 7,

2022 presentation, at 33 and 58.

       122.    Notably, MGL executives, in announcing MGL’s Fiscal 2021 results on May 9,

2022, repeatedly warned that they expected CGM’s net profits for fiscal 2022 “to be significantly

down on FY 21.” See MGL May 7, 2022 conference call, transcript at 20, 29-30. In so doing, they



                                                 35
   Case 5:23-cv-04116-DDC-ADM              Document 1       Filed 12/13/23      Page 39 of 48




admitted the obvious fact that CGM’s Fiscal 2021 was an extraordinary year:

       Brendan Sproules (Citibank analyst):

       Good morning team. Look, I just have a couple of questions on your commodities
       outlook for the next 12 months. Just looking at the three components of revenue
       that you give us. The inventory management and trading obviously was close to a
       billion dollars this year. Is there anything you are seeing in 2022 that suggests that
       that won’t revert back to what has been the longer-term average at around that
       $A200 million revenue.

                                                ***

       Alex Harvey (MGL CFO):

       . . . Yes more generally obviously we are saying commodities will be significantly
       down and that’s a reflection of the fact that we did see broad dislocation across the
       commodities’ platform through FY21 and as we’re sitting here today, obviously
       markets are starting to normalise a little bit from where they were. So looking out
       here, we’re expecting, from here, we’re expecting commodities to be significantly
       down. . .

       Shemara Wikramanayake (MGL CEO):

       Yes. I mean to your question, this was a particularly strong year for us in inventory
       management and trading.

See MGL May 7, 2022 Conference Call, transcript at 29-30.

       123.    However, Macquarie executives did not delve too deeply, in public, into just how

extraordinary CGM’s Fiscal 2021 year really was. As the above allegations indicate, CGM’s

Fiscal 2021 appeared entirely ordinary through early February 2021 (i.e., ten and half months into

the 12-month period), at which point it was flat with fiscal 2020. Then, during two truly

extraordinary weeks in mid-February 2021, CGM generated four years’ worth of net profits (i.e.,

$A800 million in incremental Fiscal 2021 net profits, when CGM averaged annual net profits of

approximately of $A200). These four years’ worth of CGM net profits were generated, in

largest part, by a tiny part of CGM: Macquarie.

       124.    Viewed in combination, the above facts tell a straightforward story: (1) MGL’s




                                                36
      Case 5:23-cv-04116-DDC-ADM           Document 1       Filed 12/13/23      Page 40 of 48




swing from a Fiscal 2021 net profit decline (per February 9, 2021 projections) to a Fiscal 2021 net

profit increase of 10% (per February 22, 2021 projections two weeks later, and May 7, 2021

announced results), (2) was underwritten by a spike in CGM net profits, that (3) occurred not

merely in the fourth quarter of Fiscal 2021, but (4) more precisely, during the middle two weeks

of February 2021, (5) driven in largest part by Macquarie’s physical gas trading activities.

VI.     MACQUARIE’S MANIPULATION HARMED KANSAS RESIDENTS

        A.     Macquarie’s Manipulation Forced Kansas Residents to Pay More for Natural
               Gas

        125.   In March 2021, the costs resulting from elevated natural gas prices during February

2021 (hereinafter, “Excess Costs”) began to come due as natural gas users and purchasers began

to receive extremely large invoices from their gas suppliers for the gas they purchased or used

during February 2021.

        126.   For example, Macquarie had term contracts with the KMGA (a Kansas political

subdivision within the meaning of the KFCA) that obligated KMGA to purchase gas from

Macquarie at a price based on the Southern Star Gas Daily price. KMGA received invoices from

Macquarie that included charges for gas purchased based on the false, artificially high February

17, 2021 Southern Star Gas Daily price caused by Macquarie. In so doing, Macquarie’s invoices

were false claims submitted to KMGA. KMGA paid the invoices presented to it by Macquarie and

was damaged thereby. Discovery may reveal others similarly harmed.

        127.   Many of these Excess Costs may have been the unfortunate result of regular market

forces rather than actionable misconduct. However, a specific and specifically identifiable subset

of Kansans’ Excess Costs is directly traceable to, and was directly caused by, Macquarie’s

manipulation of the February 17, 2021 Southern Star Gas Daily price.

        128.   The volumes of natural gas delivered on February 17, 2021 – and priced based on



                                                37
     Case 5:23-cv-04116-DDC-ADM            Document 1        Filed 12/13/23      Page 41 of 48




the February 17, 2021 Southern Star Gas Daily price – to Kansas’ principal gas utilities (KGS,

Atmos, and Black Hills), a Kansas municipal gas-purchasing agency (KMGA) and one Kansas

electricity generator (MidWest Energy) were material.

       129.    Excess Costs flowed to Kansas residents via three basic and distinct streams: (1)

through utilities and similar entities that purchased natural gas and who necessarily passed their

costs on to residential Kansas ratepayers via multi-year increases in their approved rates;21 (2)

through local natural gas marketers who purchased natural gas for, and passed their purchase costs

on immediately to, their Kansas non-residential customers (primarily, small- and mid-sized

commercial, municipal, governmental and other non-residential organizations), via February 2021

invoices; and (3) to certain large commercial and industrial entities, who purchased natural gas

directly (rather than obtaining it from utilities or local marketers), in February 2021 invoices.

       130.    Based on currently available and partial data for only the first of these three Excess

Cost streams (through utilities and similar entities to Kansas ratepayers), Macquarie’s misconduct

was responsible for illegitimately causing more than $50 million of Kansans’ Excess Costs.




21
   Utilities paid their February 2021 gas invoices from their gas suppliers, which were often tens
of millions of dollars higher than normal – and occasionally more than $100 million dollars higher
– promptly. Utilities then sought to recapture their February 2021 Excess Costs from their
ratepayers, by seeking state utility regulators’ approval to charge ratepayers new, increased rates.
Because utilities’ Excess Costs were so high, the new rates sought and approved were designed to
allow utilities to recapture their Excess Costs through increased rates paid out over lengthy multi-
year periods (e.g., five years, seven years, etc.), rather than all at once. While spreading out
ratepayer repayment of Excess Costs over such long periods had the intended effect of minimizing
increases to ratepayers’ monthly bills, ratepayers were still responsible for full repayment of
utilities’ Excess Costs. In Kansas, in proceedings before the Kansas Corporation Commission
(“KCC”) for regulatory approval of new and higher rates to recapture Kansas utilities’ Excess
Costs, the KCC required utilities and other regulated entities to quantify their Excess Costs, and
approved new rates only to reflect prudently-incurred Excess Costs. Detailed and comprehensive
February 2021 gas purchase data provided in the KCC proceedings by some, but not all, of the
Kansas utilities forms the basis for Plaintiff’s analysis. Similar proceedings and Excess Cost
determinations occurred in neighboring states, including Oklahoma, Minnesota and Missouri.


                                                 38
   Case 5:23-cv-04116-DDC-ADM              Document 1       Filed 12/13/23      Page 42 of 48




Complete data for all three streams of Excess Cost is expected to reveal substantial further volumes

of Kansas natural gas priced based on the February 17, 2021 Southern Star Gas Daily price and

thus reveal the aggregate harm to Kansas residents to be far larger.

        B.     Macquarie’s Manipulation Harmed Traders of Southern Star Derivatives

        131.   Macquarie’s trading of physical gas (i.e., the Trade) was intended to manipulate, or

at least recklessly manipulated, the benchmark Southern Star Gas Daily price for February 17,

2021 upward. This manipulation, in turn, directly and necessarily harmed traders in Southern Star

Derivatives, including, specifically: (1) sellers of Southern Star Swing Future contracts whose

contract period included February 17, 2021, and (2) sellers of Southern Star Index Future contracts

whose contract period included February 2021.


VII.    CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF

       Manipulation in Violation of the Commodity Exchange Act, 7 U.S.C. §§ 1 et seq.,
                         and Rule 180.2 Promulgated Thereunder
                                     Against Macquarie

        132.   Plaintiff repeats and re-alleges the foregoing allegations herein.

        133.   Macquarie, through its acts as alleged herein, including the acts of its agent

Macquarie Trader A, specifically intended to and did manipulate, or at least acted recklessly with

regards to manipulating, the Southern Star Gas Daily price on February 16 and 17, 2021 and the

prices of the following commodities and futures in violation of the CEA, 7 U.S.C. §§1 et seq.: (1)

natural gas delivered within Southern Star on February 17, 2021 and priced at the Southern Star

Gas Daily price; (2) the Southern Star Index Futures contract traded on ICE (ICE symbol: OUI);

(3) the Southern Star Swing Futures contract traded on ICE (ICE symbol: OUS); and (4) additional

Southern Star Derivatives linked to the February 17, 2021 Southern Star Gas Daily price.



                                                39
   Case 5:23-cv-04116-DDC-ADM               Document 1       Filed 12/13/23       Page 43 of 48




       134.    As alleged herein, Macquarie could influence the February 17, 2021 Southern Star

Gas Daily price, and thus the settlement prices of the aforementioned Southern Star Derivatives

contracts linked to that price. Macquarie had the opportunity to create, and successfully created,

an artificial February 17, 2021 Southern Star Gas Daily price by entering into the economically

irrational Trade at an elevated, off-market price (the single highest price ever paid for natural gas

in Southern Star) and without commercial rational purpose other than manipulating the Southern

Star Gas Daily price upward.

       135.    Macquarie was motivated to do so to benefit (1) its position as a substantial net

seller of gas for February 17, 2021, delivery within Southern Star and priced at the Southern Star

Gas Daily price, and (2) any further positions Macquarie had taken in the aforementioned Southern

Star Derivatives that were priced or settled based on the February 17, 2021 Southern Star Gas

Daily price.

       136.    Macquarie’s conduct and trading activity of natural gas in interstate commerce

alleged herein constituted manipulation of the February 17, 2021 Southern Star Gas Daily price

used to price/settle (1) natural gas delivered within Southern Star on February 17, 2021 and priced

at the Southern Star Gas Daily price, and (2) the aforementioned Southern Star Derivatives, in

violation of the CEA, including but not limited to 7 U.S.C. §§ 6b(a), 6c(a), 9(1), 9(3), and 13(a)(2),

as well as 17 C.F.R. § 180.2.

       137.    Macquarie’s manipulative conduct and trading activity deprived Kansas residents

of a lawfully operating natural gas market.

       138.    As a direct result of Macquarie’s unlawful conduct, Kansas residents suffered

actual damages, legal injury, and injury in fact when they transacted in or paid for physical natural

gas priced at the February 17, 2021 Southern Star Gas Daily price and in transacting Southern Star




                                                 40
   Case 5:23-cv-04116-DDC-ADM               Document 1      Filed 12/13/23      Page 44 of 48




Derivatives linked to the February 17, 2021 Southern Star Gas Daily price at artificial and

manipulated prices created by Macquarie, to which Kansas residents would not have been subject

but for Macquarie’s unlawful conduct alleged herein.

       139.    Because Macquarie’s conduct was willful and intentional, Plaintiff is entitled to

additional punitive or exemplary damages equal to no more than two times the actual damages for

the violations of the CEA alleged herein.

                                 SECOND CLAIM FOR RELIEF

                      Employing a Manipulative and Deceptive Device
 in Violation of the CEA 7 U.S.C. §§ 1 et seq. and Rule 180.1(a) Promulgated Thereunder
                                   Against Macquarie

       140.    Plaintiff repeats and re-alleges the foregoing allegations herein.

       141.    Macquarie intended to affect or acted recklessly with regards to affecting prices of

physical and financial gas contracts priced at based on, or linked to, the February 17, 2021

Southern Star Gas Daily price, and engaged in overt acts beginning no later than February 16,

2021, in furtherance of its intent.

       142.    As alleged herein, Macquarie, by entering into the Trade and thereby inflating the

February 17, 2021 Southern Star Gas Daily price: (1) intentionally or recklessly used or employed

a manipulative device or artifice to defraud; (2) engaged in an act, practice or course of business

which operated or would operate as a fraud or deceit upon Kansas residents transacting in or paying

for physical or financial gas products linked to the February 17, 2021 Southern Star Gas Daily

price; (3) caused the delivery, through communication and interstate commerce, of a false or

misleading or inaccurate report concerning market information or conditions affecting the price of

a commodity; and (4) entered into a transaction involving the purchase or sale of a commodity for

future delivery that was used to cause a price to be reported or recorded that was not a true and




                                                41
   Case 5:23-cv-04116-DDC-ADM              Document 1        Filed 12/13/23      Page 45 of 48




bone fide price, all in violation of the CEA, including but not limited to 7 U.S.C. §§ 6b(a), 6c(a),

9(1), and 13(a)(2), and Regulation 180.1(a), 17 C.F.R. § 180.1(a).

       143.    Macquarie’s conduct proximately caused injury to Kansas residents when they

transacted in or paid for physical natural gas priced at the February 17, 2021 Southern Star Gas

Daily price or transacted in Southern Star Derivatives linked to the February 17, 2021 Southern

Star Gas Daily price, at artificial and manipulated prices created by Macquarie.

       144.    Plaintiff is entitled to actual damages sustained by Kansas residents from physical

and financial gas products priced or settled based on the February 17, 2021 Southern Star Gas

Daily price for the violations of the CEA alleged herein.

                                 THIRD CLAIM FOR RELIEF

                                    Principal-Agent Liability
                          in Violation of the CEA 7 U.S.C. §§ 1 et seq.
                                       Against Macquarie

       145.    Plaintiff repeats and re-alleges the foregoing allegations herein.

       146.    Macquarie, through its employees, agents, or others (including but not limited to

Macquarie Trader A), directed, developed, executed, and otherwise acted with respect to the

scheme alleged herein. Under Section 2(a)(1)(B) of the CEA, 7 U.S.C. § 2(a)(1)(B), Macquarie is

liable for the acts of its employees, agents and other persons acting within the scope of their

employment for Macquarie.

       147.    Plaintiff is entitled to damages for the violations alleged herein.

                               FOURTH CLAIM FOR RELIEF

Submission of False Claims to Kansas or a Kansas Political Subdivision in Violation of the
                    Kansas False Claims Act, K.S.A. § 75-7501 et seq.
                                  Against Macquarie

       148.    Plaintiff repeats and re-alleges the foregoing allegations herein.




                                                 42
   Case 5:23-cv-04116-DDC-ADM               Document 1       Filed 12/13/23       Page 46 of 48




       149.    KMGA, a Kansas political subdivision within the meaning of the KFCA,

contractually obligated itself to purchase gas from Macquarie on February 17, 2021, at a price

based on the Southern Star Gas Daily Price.

       150.    As described above, Macquarie’s manipulation of the Southern Star Gas Daily price

resulted in a false, inflated price for natural gas that was not based on natural market forces.

       151.    Macquarie knowingly presented to the KMGA invoices for Southern Star natural

gas for February 2021, including gas purchased on February 17, 2021, at a falsely inflated price.

       152.    Alternatively, even if Macquarie intended to manipulate the Southern Star Gas

Daily price but did not intend to submit an invoice to KMGA containing the falsely inflated price

for gas purchased on February 17, 2021, Macquarie now knows that the invoices submitted to

KMGA were based on a false, artificially high price and has not disclosed the false claim or made

satisfactory repayment arrangements.

       153.    KMGA paid the invoices presented to it by Macquarie and was damaged thereby.

       154.    Under the Kansas False Claims Act, Macquarie is liable to the state or affected

political subdivision for up to three times the damages sustained, civil penalties, and all reasonable

costs and attorneys’ fees incurred in a civil action brought to recover any of those penalties or

damages.

VIII. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       (a)     That the Court enter an order declaring that Macquarie’s actions, as set forth in this

Complaint, violate the CEA and the Kansas False Claims Act;

       (b)     That the Court award Plaintiff damages, punitive and exemplary damages, or

restitution in amount to be determined at trial;

       (c)     That the Court award Plaintiff pre- and post-judgment interest at the maximum rate


                                                   43
      Case 5:23-cv-04116-DDC-ADM             Document 1       Filed 12/13/23      Page 47 of 48




allowable by law;

          (d)    That the Court award Plaintiff its costs of suit, including reasonable attorneys’ and

experts’ fees and expenses; and

          (e)    That the Court award any and all such other relief as the Court may deem just and

proper.

IX.       JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury.

                                               Respectfully submitted,

                                               KRIS W. KOBACH
                                               KANSAS ATTORNEY GENERAL

                                               Frances R. Oleen, KS #17433
                                               Deputy Attorney General

                                               Melanie Jack, KS #13213
                                               First Assistant Attorney General
                                               Public Protection Division
                                               120 S.W. 10th Avenue, Second Floor
                                               Topeka, Kansas 66612-1597
                                               Phone (785) 296-3751
                                               Fax (785) 291-3699
                                               fran.oleen@ag.ks.gov
                                               melanie.jack@ag.ks.gov

                                               and

                                               By:/s/ Jonathan Musch
                                               Jonathan Musch, D. Kan. No. 79075
                                                                 MO #55200
                                               Special Assistant Attorney General
                                               Hilgers Graben PLLC
                                               6 Cardinal Way, Suite 900
                                               St. Louis, MO 63102
                                               Phone (314) 464-3391
                                               Fax (402) 413-1880
                                               jmusch@hilgersgraben.com

                                               and



                                                      44
Case 5:23-cv-04116-DDC-ADM   Document 1     Filed 12/13/23    Page 48 of 48




                              Alice S. LaCour, pro hac vice forthcoming
                              Special Assistant Attorney General
                              Grant Schmidt, pro hac vice forthcoming
                              Hilgers Graben PLLC
                              7859 Walnut Hill Lane, Suite 335
                              Dallas, TX 75230
                              Phone (203) 807-4813
                              alacour@hilgersgraben.com
                              gschmidt@hilgersgraben.com




                                 45
